 Case 3:16-mc-00001-GEC Document 3 Filed 02/17/16 Page 1 of 1 Pageid#: 15

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JU D Y A .ROBBINS,

      M ovant,                                   CivilAction No.3:16-M C-00001



M ILLER LAW GROUP,P.C.,                          By;Hon.Glen E.Conrad
                                                 ChiefUnited StatesDistrictJudge
          Respondent,


YOLANDA REN E M OSLEY-RIDLEY,

      Debtor.


      Forthereasonssetforth in the accom panying m em orandum opinion,itishereby

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thatrespondentM illerLaw Group,P.C.'Sm otion forleaveto appealisDENIED.

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certified copiesofthisorderand theaccompanying mem orandum opinion to a11cotmselof

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                                                 ChiefUnited StatesDistrictJudge
